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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PENNSYLVANIA GENERAL ENERGY )
COMPANY, L.L.C.,            )
         Plaintiff,         )                        Civil Action No. 14-209 Erie
                            )
         v.                 )
                            )
GRANT TOWNSHIP,             )                        District Judge Susan Paradise Baxter
         Defendant.         )


                                           ORDER

               AND NOW, this 3rd day of June, 2019;

               IT IS HEREBY ORDERED that Plaintiff’s Motion to Stay Execution of Order

Awarding Attorney’s Fees and Costs Without Security [ECF No. 339] is denied. Grant Township

is to post a supersedeas bond in the amount of $102,979.18, plus post-judgment interest and

costs, within thirty (30) business days of this Order. Upon the posting of that bond, the Order of

March 31, 2019 [ECF No. 335] will be stayed pending full resolution of all appeals pertaining to

that Order.




                                                     s/ Susan Paradise Baxter
                                                     Susan Paradise Baxter
                                                     United States District Judge




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